                                           *M000001Q11*
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         8742 Lucent Boulevard ▪ Suite 300 ▪ Highlands Ranch, CO 80129                                                        1-800-306-6062
                                                                                                                              1-877-875-0981


         RICHARD T BOURNE                                                           RE: 1725 Property
         PATRICIA S BOURNE                                                          Address: 1031
         1031 ROANOKE CT NE                                                         ROANOKE CT NE
000001




         PALM BAY, FL 32907                                                         PALM BAY, FL
                                                                                    32907




         07/08/2019

         Dear RICHARD T BOURNE & PATRICIA S BOURNE ,

         Specialized Loan Servicing LLC ("SLS") has conducted a review of your application submitted for a mortgage relief
         option. Congratulations! You have been approved for a Mortgage Relief Option.

         Below is a list of the mortgage relief options you were evaluated for and the result of each.

         Please note, if you are currently in a bankruptcy proceeding, approval of any mortgage relief option for which you may
         be eligible is contingent on approval of the bankruptcy court in your bankruptcy case. If an Order is entered denying
         the mortgage relief option, that Order supersedes any agreement contained herein. If you have any questions or
         concerns regarding the process to obtain court approval, please contact your attorney.

         Results Summary
              Short Sale Program - Approved
               Offer




         ENCLOSURES:
               • SLS Short Sale Approval Agreement
               • Legal Disclosures

         The requirements for this evaluation were set forth and performed in accordance with the Pooling and Servicing
         Agreement between Specialized Loan Servicing LLC and The Bank of New York Mellon FKA The Bank of New York,
         as Trustee for the certificateholders of the CWABS, Inc., Asset-Backed Certificates, Series 2007-1.
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                                  *I00000101*
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If you have questions concerning this letter or need further assistance, you may contact me or our Customer
Resolution Department at 1-800-306-6059 Monday through Friday, 7:00 a.m. until 7:00 p.m. MT. SLS accepts calls
from relay services on behalf of hearing impaired borrowers.

If you have other questions about mortgage relief options that cannot be answered by us, please call the
Homeowner's HOPE™ Hotline at 1-888-995-HOPE (4673). This Hotline can help with questions about the program
and offers access to free HUD-certified counseling services in English and Spanish.

Sincerely,

Michael, 21064
Customer Resolution Department
Specialized Loan Servicing LLC




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                                         *I00000102*
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                                                                                                                 1-877-875-0981

07/08/2019

                                         SLS Short Sale Approval Agreement

We’ve approved the short sale contract- here’s what to do next:


 Account:                                     1725

 Property Address:                            1031 ROANOKE CT NE
                                              PALM BAY, FL32907


 Customer(s):                                 RICHARD T BOURNE, PATRICIA S BOURNE and ARVIND MAHENDRU
                                              (Seller)

 Buyer(s):                                    ACHIEVE AMAZING INVESTMENTS, LLC (Buyer)

Dear RICHARD T BOURNE & PATRICIA S BOURNE,

We’ve approved the short sale contract you submitted. We’ll accept a minimum of $179,279.79 and release the lien on
your property and the account will be considered resolved, contingent on the fulfillment of the conditions listed below.
Payment to SLS in certified funds and required compliance with the terms outlined in this approval must be met by
08/16/2019, or this offer will become null and void.

                           Required Documentation with Pre and Post Closing Instructions

Send the following Pre Closing documents to shortsales@sls.net at least 48 hours prior to closing.

         •    Final Settlement Statement: Please send the proposed Preliminary Closing Settlement Statement to SLS
              for approval prior to closing. Include the borrower’s last name and loan number in the subject line.
         •    SLS Short Sale Approval Agreement: Return and sign all pages of the SLS Short Sale Approval letter.
         •    Junior Lien Approval Letter: If applicable, this must be valid through the closing date and is only
              necessary if there is a junior lien. Depending on your investor, SLS may require that the approval include a
              full release of the borrower from all claims and liability relating to the subordinate lien.

Send the following Post closing documents to shortsales@sls.net immediately following closing.

1. Closing Disclosure or Settlement Statement: Stamped or signed, true and certified.
2. Executed promissory note (if applicable): this outlines the terms for you to pay off the deficiency balance.
3. Recorded power of attorney (if applicable): if any documents are executed by someone other than the seller.
4. Proof of all payments to Third Parties, including all other liens: This includes other liens, Relocation Incentive
   check, and any other seller incentives. A copy of the actual check or complete wire confirmation with tracking number
   is required. No check stubs will be accepted.
5. Net Proceeds certified check or wire confirmation of the funds: If providing a certified check, include the tracking
   information. If funds are wired, please send the wire confirmation to shortsales@sls.net with the federal reference
   number and SLS loan number.




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                                                                                                                1-877-875-0981

6. Provide a copy of the executed Conveyance Deed: Settlement agent must ensure that the deed conveying the
   Mortgaged Premises from the borrower to the purchaser contains the following provision and provide a copy of the
   executed conveyance deed at time of closing:
       a.           “Grantee herein is prohibited from conveying captioned property for sales price for a period of 30
                    days from 08/16/2019. After this 30 days period, Grantee is further prohibited from conveying the
                    property for a sales price greater than $249,600.00 until 90 days from 08/16/2019. These restrictions
                    shall run with the land and not personal to the Grantee.”

                    The provided language may be amended as necessary to comply with applicable law.

If the final closing instructions are not followed in their entirety, SLS reserves the right to terminate the short
sale.

The minimum payoff amount of $179,279.79 must be received in our office immediately following the closing. SLS will
continue to make advancements on the above-referenced property for items such as taxes and insurance. These
advancements may increase the minimum net proceeds required to close on the short sale. In the event the minimum net
proceeds amount increases, SLS will issue an updated approval letter for the borrower to sign.

If you have not already done so, please send the requested documentation, along with the name and contact information
of the title company’s closing agent so arrangements can be made for direct payment of the proceeds to SLS. If any of the
above requested documents or information is not received by the respective due dates, this approval will be null and void.

If you are a customer in bankruptcy, SLS may be required to receive written approval from your attorney or bankruptcy
trustee acknowledging acceptance of these terms before the short sale can be completed. If applicable, please return the
signed approval letter to SLS with your signed documents.


Here are the terms and conditions of this sale.

1. Terms: the sale and closing comply with all terms and conditions of the sale approval agreement (“the agreement”).
2. Changes: Any changes to the terms and representations in the agreement must be approved by SLS in writing.
   Please note there is no guarantee that changes will be approved.
3. Deficiency: This short sale transaction is contingent upon the execution of a promissory note that outlines the terms
   in which you must pay off the remaining deficiency of the mortgage note.
4. Incentives: You won’t receive payments or incentives to participate in the sale of the property. This means you’re
   responsible for all relocation or other expenses that you may incur as a result of the sale. Neither you, nor the buyer,
   are to receive any proceeds from the sale of the property.
5. Surplus Funds: Any excess funds at closing must be refunded to SLS. If there is a positive escrow balance, it won’t
   be refunded to you. Once the sale is complete, we’ll apply any escrow funds to the outstanding balance on the loan to
   offset the investor’s loss.
6. Closing Disclosure or Settlement Statement: We must receive a Preliminary Closing Disclosure or Settlement
   Statement 48 hours before the closing date or we may cancel the approval of the sale. We must also receive the
   signed final Closing Disclosure or Settlement Statement within 48 business hours after closing. All incentive payments
   must be reflected on the Closing disclosure or Settlement Statement showing the name of the recipient. Please send
   those documents to Shortsales@sls.net, Be sure to include the borrower’s last name and loan number in the subject
   line.


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7. Real Estate Commissions: Real estate commissions paid from the sale proceeds to the listing and selling brokers
    involved in the transaction can’t exceed 6.0% of the contract sale price. Neither you nor the buyer may receive a
    commission.
8. Property tax calculations: All prorated taxes should be calculated using the close date and are considered final.
    Prorated taxes should be based on the actual taxes due and payable.
9. Title: If any part of the title to the property is transferred before closing, we’ll cancel this approval without further
    notice.
10. Bankruptcy: If you’re currently in bankruptcy or you file bankruptcy before closing, you must obtain any required
    consent or approval from r the Bankruptcy Court.
11. Credit reporting: Satisfaction of the account through this sale may be reported to various consumer reporting
    agencies and may have a negative effect in your credit rating. The impact of a short sale depends on your entire
    credit profile. For more information about your credit score, go to www.consumer.ftc.gov and click the “Money and
    Credit” tab then “Credit and Loans” and them “How Credit Scores Affect the Prove of Credit and Insurance.”
12. Payment instructions: We must receive the payoff funds from the sale within 48 business hours after closing.
    Please use the following wiring instruction or overnight mailing address and include the full loan number on the
    payment.

 Wire:                           Bank Name:                     Wells Fargo Bank

                                 Bank Address:                  420 Montgomery Street, San Francisco, CA 94104

                                 Account Number:                2000042928232

                                 Bank ABA Number:               121000248

                                 Account Name:                  SLS - Wire Clearing


 Overnight mail:                 Specialized Loan Servicing LLC,

                                 8742 Lucent Blvd., Suite 300

                                 Highlands Ranch, CO 80129




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                                                                                                                  1-877-875-0981


SLS approval of the offer is only for the contract sales price of $208,000.00 between you and ACHIEVE AMAZING
INVESTMENTS, LLC.


The expected closing costs and the minimum amount of proceeds that we’ll receive are detailed below. The fees and
costs listed are only an estimate of the fees and costs that will be assessed at closing, so they are subject to change
based on any change in the transaction.

                                              Expected Seller Closing Costs

 MTS Recording to tro Circuit Courts                                                    $100.00

 Bk Estate Fee to Arvind Mahendru, Bankruptcy Trustee for the Estate of                 $10,400.00

 Trustee Liability Insurance to Arvind Mahendru, Bankruptcy Trustee for the Estate      $650.00
 of

 County Tax Amount From Seller                                                          $1,185.21

 Settlement Fee Amount                                                                  $1,295.00

 Title Search Amount                                                                    $400.00

 Title Examination Amount                                                               $250.00

 Doc Preparation Fee Amount                                                             $495.00

 Seller Agent Amount                                                                    $8,320.00

 Recording Fee Amount                                                                   $9.00

 State Tax Stamp Amount                                                                 $1,456.00

 Buyer Agent Amount                                                                     $4,160.00


                                                      Expected Credits

 Borrower Cash Contribution                                                             $0.00

 Offer Contract Sales Price                                                             $208,000.00


                                             Minimum Net Proceeds to Lender

 Sales Price                                                                            $208,000.00


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                                                                                                                    1-877-875-0981


 -Your closing costs                                                                       ($28,720.21)

 +Total credit (* includes the Offer Contract Sales Price listed above)                    $208,000.00

 Total minimum net proceeds to be received by the lender                                   $179,279.79

This approval supersedes all other agreements and applies only to this mortgage. Any additional loans/liens from you or
any other party in favor of SLS or any affiliated entity, whether on this property to otherwise, are excluded from this letter.




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                                                                                                              1-877-875-0981


If you have any questions regarding this information, please contact Customer Resolution toll free at 1-800-306-6059,
Monday through Friday, 7:00 a.m. until 7:00 p.m. MT. SLS accepts calls from relay services on behalf of hearing impaired
borrowers.

Sincerely,

Michael, 21064
Specialized Loan Servicing LLC




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                                             *I00000108*
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                                                                                                                            1-877-875-0981


 Account:                                         1725

 Customer(s):                                     RICHARD T BOURNE, PATRICIA S
                                                  BOURNE and ARVIND MAHENDRU
                                                  (Seller)

 Property Address:                                 1031 ROANOKE CT NE
                                                   PALM BAY, FL 32907
* The completion of a short sale may involve debt forgiveness and have tax consequences. You are strongly encouraged to consult with
your legal and/or tax advisor(s) prior to accepting this offer.

Acceptance of the terms above confirms that the Seller agrees that they will not be entitled to receipt of any funds in conjunction with
the short sale as set forth above, including but not limited to;

            •   Escrow Balance
            •   Buy-down Funds Balance
            •   Insurance Claim Proceeds
            •   Property Tax Refunds
            •   Hazard Insurance Refunds
            •   Unapplied Funds




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                                                                                                                1-877-875-0981


 Seller 1                                                                  Seller 2



 (Print name)                                                              (Print name)



 (Signature)                                                               (Signature)



 (Date)                                                                    (Date)



 Seller 3                                                                  Seller 4



 (Print name)                                                              (Print name)



 (Signature)                                                               (Signature)



 (Date)                                                                    (Date)




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                                                                                                                    1-877-875-0981

SPECIALIZED LOAN SERVICING LLC IS REQUIRED BY FEDERAL LAW TO ADVISE YOU THAT THIS
COMMUNICATION IS FROM A DEBT COLLECTOR.

BANKRUPTCY NOTICE - IF YOU ARE A CUSTOMER IN BANKRUPTCY OR A CUSTOMER WHO HAS
RECEIVED A BANKRUPTCY DISCHARGE OF THIS DEBT: PLEASE BE ADVISED THAT THIS NOTICE IS TO
INFORM YOU OF THE STATUS OF THE MORTGAGE SECURED BY THE SUBJECT PROPERTY. THIS NOTICE
CONSTITUTES NEITHER A DEMAND FOR PAYMENT NOR A NOTICE OF PERSONAL LIABILITY TO ANY
RECIPIENT HEREOF, WHO MIGHT HAVE RECEIVED A DISCHARGE OF SUCH DEBT IN ACCORDANCE WITH
APPLICABLE BANKRUPTCY LAWS OR WHO MIGHT BE SUBJECT TO THE AUTOMATIC STAY OF SECTION
362 OF THE UNITED STATES BANKRUPTCY CODE. IF YOU RECEIVED A DISCHARGE OF THE DEBT IN
BANKRUPTCY, WE ARE AWARE THAT YOU HAVE NO PERSONAL OBLIGATION TO REPAY THE DEBT. WE
RETAIN THE RIGHT TO ENFORCE THE LIEN AGAINST THE COLLATERAL PROPERTY, WHICH HAS NOT
BEEN DISCHARGED IN YOUR BANKRUPTCY, IF ALLOWED BY LAW AND/OR CONTRACT. IF YOU HAVE
QUESTIONS, PLEASE CONTACT US AT 1-800-306-6057.

SUCCESSORS IN INTEREST - IF YOU ARE IN RECEIPT OF THIS COMMUNICATION PURSUANT TO YOUR
STATUS AS A SUCCESSOR IN INTEREST TO THE SUBJECT PROPERTY, THIS NOTICE DOES NOT MAKE
YOU LIABLE FOR THE MORTGAGE DEBT. UNLESS YOU ARE PERSONALLY LIABLE FOR OR HAVE
ASSUMED THE MORTGAGE LOAN, YOU CANNOT BE REQUIRED TO USE YOUR ASSETS TO PAY THE
MORTGAGE DEBT. THE LENDER HAS A SECURITY INTEREST IN THE PROPERTY AND A RIGHT TO
FORECLOSE ON THE PROPERTY, WHEN PERMITTED BY LAW AND AUTHORIZED UNDER THE MORTGAGE
LOAN CONTRACT.

Important Notice To Servicemembers And Their Dependents
If you or any occupant of your home are or recently were on active duty or active service, you may be eligible for
benefits and protections under the federal Servicemembers Civil Relief Act (SCRA). This includes protection from
foreclosure or eviction. You may also be eligible for benefits and protections under state law or investor policy. SCRA
and state Military benefits and protections also may be available if you are the dependent of an eligible
Servicemember.

Eligible service may include:
     • Active duty with the Army, Navy, Air Force, Marine Corps, or Coast Guard, or
     • Active service as a commissioned officer of the National Oceanic and Atmospheric Administration, or
     • Active service as a commissioned officer of the Public Health Service, or
     • Service with the forces of a nation with which the United States is allied in a war or Military action, or
     • Service with the National Guard of a state militia under a state call of duty, or
     • Any period when you are absent from duty because of sickness, wounds, leave, or other lawful cause.

For more information, please call SLS at 1-800-306-6059.

NOTICES OF ERROR AND REQUESTS FOR INFORMATION (INCLUDING QUALIFIED WRITTEN REQUESTS),
MUST BE SUBMITTED IN WRITING TO: SPECIALIZED LOAN SERVICING LLC, P.O. BOX 630147, LITTLETON,
CO 80163-0147




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